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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

KEVIN H. MCKENNA,                   :
                                    :     CASE NO. C2 05 976
            Plaintiff,              :
                                    :
      v.                            :     JUDGE MARBLEY
                                    :
NESTLÉ PURINA PETCARE CO.,          :
                                    :     MAGISTRATE JUDGE KEMP
            Defendant.              :
_____________________________________________________________________________


              DEFENDANT NESTLÉ PURINA PETCARE CO.’S
    MOTION FOR SANCTIONS AND MOTION TO DECLARE KEVIN MCKENNA
        A VEXATIOUS LITIGATOR AND MEMORANDUM IN SUPPORT

       Now comes Nestlé Purina PetCare Co. (hereinafter “Nestlé”), by and through

undersigned counsel, who hereby respectfully requests this Court grant sanctions against Kevin

H. McKenna (hereinafter “McKenna”), including an award of attorney fees, and declare

McKenna a vexatious litigator. The reasons in support of this Motion are set forth more fully in

the accompanying Memorandum in Support.

                                                   Respectfully submitted,

                                                   Roetzel & Andress, LPA

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                                 MEMORANDUM IN SUPPORT

I.        INTRODUCTION

          This Court granted summary judgment in Nestlé’s favor on March 31, 2009. Opinion

and Order (Doc. #168). McKenna appealed this decision to the United States Court of Appeals

for the Sixth Circuit. Notice of Appeal (Doc. #170). The Sixth Circuit affirmed this Court’s

Decision on December 23, 2009.

          McKenna also initiated a second lawsuit against Nestlé on March 14, 2008, which was

assigned Case No. 2:08-cv-253. On March 24, 2009, this Court granted Nestlé’s Motion to

Dismiss. McKenna appealed this decision as well. Notice of Appeal (Doc. #21), Case No. 2:08-

cv-253. The Sixth Circuit affirmed this Court’s decision on November 23, 2009.

          Since that time, McKenna filed an Application to Extend Time to File a Petition for Writ

of Certiorari with the United States Supreme Court. Attached hereto as Exhibit A. McKenna

also filed a Request for Status Conference in this Court. Request for Status Conference (Doc.

#175). Most recently, McKenna filed a Motion for Relief from Judgment with accompanying

attachments. Motion for Relief (Doc. #176). Much like McKenna’s previous filings, the Motion

for Relief from Judgment is not supported by law and serves no purpose other than to harass

Nestlé.

II.       LAW AND ARGUMENT

          A.       Sanctions Are Warranted.

          United States Code 28 U.S.C. § 1927 provides, “Any attorney or other person…who so

multiples the proceedings in any case unreasonably and vexatiously may be required by the court

to satisfy personally the excess costs, expenses, and attorneys’ fees reasonably incurred because




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of such conduct.” This Statute applies to the conduct of pro se litigants, such as McKenna. See

Tropf v. Fidelity Nat. Title Ins. Co., 289 F.3d 929, 938-39 (6th Cir. 2002).

         Even in the absence of the Statute, Courts have inherent power to sanction bad faith

conduct if the statutes or rules do not provide an adequate sanction. Chambers v. NASCO, Inc.,

501 U.S. 32, 50, 111 S.Ct. 2123, 115 L.Ed.2d 27 (1991). A court has “the inherent power to

sanction a party when that party exhibits bad faith[.]” Youn v. Track, Inc., 324 F.3d 409, 420-21

(6th Cir.2003), citing, inter alia, Chambers, 501 U.S. at 43-50. “These powers come not from

rule or statute but from ‘the control necessarily vested in courts to manage their own affairs so as

to achieve the orderly and expeditious disposition of cases.’” Stalley v. Methodist Healthcare,

517 F.3d at 911, 920 (6th Cir.2008), quoting Chambers, 501 U.S. at 43. “Even if there were

available sanctions under statutes or various rules in the Federal Rules of Civil Procedure ... the

inherent authority of the Court is an independent basis for sanctioning bad faith conduct in

litigation.” First Bank of Marietta v. Hartford Underwriters Ins. Co., 307 F.3d 501, 511 (6th Cir.

2002). “[T]he court ordinarily should rely on the Rules rather than the inherent power[;][b]ut if

in the informed discretion of the court, neither the statute nor the Rules are up to the task, the

court may safely rely on its inherent power.” Id. McKenna’s Motion for Relief from Judgment

serves no purpose other than harassing Nestlé and unnecessarily multiplies proceedings that were

closed over one (1) year ago. Further, the Sixth Circuit affirmed the judgment McKenna now

seeks to set aside and addressed the same argument McKenna now sets forth.

         Sanctioning a pro se litigant is extreme and harsh, but McKenna has clearly demonstrated

he will not cease filing documents and pleadings regardless of whether there is a legal basis.

Further, McKenna demonstrated he will not cease his personal attacks on Nestlé’s Counsel

despite this Court warning McKenna to cease such conduct. The Sixth Circuit previously



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authorized an award of attorney fees against a Title VII plaintiff who engaged in frivolous and

unreasonable conduct. See Riddle v. Egensperger, 266 F.3d 542 (6th Cir. 2001). Not only is the

filing of the Motion for Relief from Judgment sanctionable, but so are the statements contained

within that Motion. This Honorable Court previously admonished McKenna to refrain from

impugning the character of opposing counsel. This Court stated, “Nevertheless, this Court

cautions that pleadings McKenna has filed in this action move dangerously close to sanctionable

behavior. Being a pro se litigant is not a license for McKenna to state and do whatever he

wants.” Order, p. 8 (Doc. #19, Case No. 2:08-cv-253). This Court also cautioned McKenna,

“However, Mr. McKenna is advised, in the future, to be more temperate in his comments toward

the conduct of opposing counsel. If he does choose to make statements impugning the honesty or

integrity of such counsel and is not able to support such statements with a factual showing,

sanctions may well be imposed in the future.” Order, pp. 5-7 (Doc. #97). This Court also issued

its final warning to McKenna: “This serves as McKenna's final warning to temper his comments

toward the conduct of opposing counsel. If McKenna continues to impugn the honesty or

integrity of opposing counsel without factual support, sanctions will be imposed.” Order, p. 10

(Doc. #19, Case No. 2:08-cv-253).

         Undeterred by this Court’s warnings, McKenna continued to impugn opposing counsel in

briefs filed with the Sixth Circuit. McKenna stated, “It always has been, is now, and will always

be McKenna’s position that Nestle is and has been committing fraud against McKenna, the

EEOC, and now the Federal Judiciary of the United States.” McKenna’s App. Br., p. 56, Case

No. 09-3570 [emphasis in original], Exhibit A to Memo in Opposition (Doc. #178). “Nestle

doesn’t hesitate to continue its vexatious litigation, and continuing to make intentional

misrepresentations to the Federal Judiciary…” Id. at p. 60. “Nestle defeated McKenna’s attempt



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for the District Court to intervene, by committing fraud upon Magistrate Judge Kemp…”

McKenna Reply Br., p. 15, Case No. 09-3400.

         Now, McKenna is again impugning the character of opposing counsel by insisting “that

Nestle’s Legal Counsel have been engaging in fraud, omission, subornation of fraud, perjury and

evidence tampering as unlawful means to prevail in this case.” Motion for Relief from Judgment,

p. 2, Doc. #176. McKenna demonstrates utter contempt and disregard for this Court’s prior

Orders and warnings and proceeds undeterred in his assailment of the character of Nestlé’s

Counsel and unfounded accusations. McKenna even admits his accusations have no support,

“The exact manner and context of each instance in which the issue of perjury has been

previously raised before this Court in one form or another, cannot be concisely articulated for

purposes of the motion, or for this court.” Id. [emphasis in original]. McKenna’s accusations

and assaults have gone on long enough. This Court granted McKenna great leeway in not

sanctioning his prior conduct, but McKenna’s latest accusations are proof that this conduct will

not cease without court action.

         McKenna has now filed four (4) Charges of Discrimination against Nestlé with the Ohio

Civil Rights Commission/Equal Employment Opportunity Commission; all 4 were dismissed

after a finding of no probable cause. (R.79, p. 6, R.165-6, Response in Opposition to Motion for

Partial Summary Judgment p.12-18)        McKenna filed two (2) lawsuits against Nestlé with the

United States District Court for the Southern District of Ohio; both lawsuits were dismissed. See

Order (Doc. #168) and Order (Doc. #9, Case No. 2:08-cv-253. McKenna filed two (2) appeals

with this Sixth Circuit; both decisions of this Court were affirmed in favor of Nestlé.

         On January 15, 2010, McKenna filed two (2) grievances with the Columbus Bar

Association: one against Attorney Brian Dickerson and one against Attorney Jonathan Secrest.



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See Exhibits B and C. McKenna also filed a complaint of attorney misconduct with the Sixth

Circuit. See Notice, attached hereto as Exhibit D.

           McKenna’s insistence on continuing to file pleadings in this case is proof that McKenna

will not cease in his crusade against Nestlé. McKenna states, “Other than literally taking

McKenna’s (physical) ‘life’, [sic] there is little to nothing Nestle could do to further ‘dissuade’

McKenna from continuing/maintain his Complaint of Discrimination…” (Doc.#9, Case No.

2:08-cv-253), Id. at p. 12. In his Appellate Brief, McKenna states:

         Be it said, and heard, here and now: Regardless of the pain and suffering my
         family and I have, and continue to endure(d) regarding this discrimination
         lawsuit, so long as blood flows through my veins, and breath through my lungs, I
         shall never cower to this TYRANNY that is known as “Nestle.”

McKenna Appellate Brief, Case No. 09-3400, p. 30 [emphasis in original] attached hereto as

Exhibit E. Recently, McKenna stated, “I will not tolerate my Civil Rights being railroaded in the

United States of America, and so long as I live, this will not be over.” July 26, 2010, Email,

attached hereto as Exhibit F.

         Nestlé has incurred significant expense in defending McKenna’s numerous filings and

pleadings and will continue to incur significant legal fees because McKenna will not cease in his

crusade against Nestlé. McKenna’s words and actions demonstrate that this will never stop.

This Northern District of Ohio previously authorized an award of sanctions against a pro se

litigant who “continued to file meritless pleadings after having been notified that doing so would

result in sanctions for her continued maintenance of unfounded, frivolous and vexatious

litigation.” Gitler v. Ohio, 632 F. Supp.2d 722, 724 (N.D. Ohio 2009). McKenna has continued

to file meritless pleadings attacking the credibility and character of opposing counsel, despite this

Court’s prior admonishments. McKenna cannot say he was not provided ample warning.




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         B.        Vexatious Litigator

         “While a court cannot absolutely foreclose an individual from initiating an action or

pursuing an appeal in federal court, the court may impose prefiling restrictions on an individual

with a history of repetitive or vexatious litigation.” Conway v. Nusbaum, 109 Fed. Appx. 44, 46

(6th Cir. 2004) [internal citation omitted], citing Ortman v. Thomas, 99 F.3d 807 (6th Cir. 1996);

Feathers v. Chevron U.S.A., Inc., 141 F.3d 264 (6th Cir. 1998) (“There is nothing unusual about

imposing prefiling restrictions in matters with a history of repetitive or vexatious litigation.”).

         McKenna demonstrates and states that he will continue to pursue this matter regardless of

the merits. McKenna has filed four Charges of Discrimination with the Ohio Civil Rights

Commission/Equal Employment Opportunity Commission, filed two complaints with this Court,

filed two appeals with the Sixth Circuit, filed one petition for writ of certiorari, and filed two

grievances with the Columbus Bar Association. Further, McKenna stated, “The CA6, USC, or

my death won't stop this” in referring to his pursuit of claims against Nestlé. December 23,

2009, Email, attached hereto as Exhibit G. McKenna is engaging in a strategy of filing pleadings

designed solely for the purpose of harassment and to increase the costs of litigation to Nestlé.

         In addition to the multiple personal attacks on Nestlé’s Counsel in pleadings filed with

the Sixth Circuit and this Court, McKenna’s grievance filed with the Columbus Bar Association

accuses Nestlé’s Counsel of:

         [E]ngag[ing] in a grotesque pattern of fraud, known misrepresentations of fact(s),
         perjury, subornation of witness perjury, literally “whatever it takes to win,” to such an
         extent I have not personally eliminated the possibility the named Attorneys would
         terminate my life as a means to that end.

Grievances, p. 1, attached hereto as Exhibits B and C.

         McKenna’s actions, filings, personal attacks, and continued pursuit of baseless claims

against Nestlé cannot go unchecked any longer. A state agency, a federal agency, and two


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federal courts have all heard McKenna’s claims and each one disposed of them. McKenna was

afforded numerous opportunities to have his claims heard; however, McKenna should no longer

be permitted to burden Nestlé or the federal court system with baseless and meritless filings.

McKenna’s recent request for a status conference and Motion for Relief from Judgment are

perfect examples that McKenna will not cease filing pleadings and documents. See Doc. #175

and #176. Nestlé does not need to point to the countless filings to demonstrate McKenna will

not stop; McKenna himself states he will not stop.

         WHEREFORE, Nestlé respectfully requests this Court grant it an award of attorney fees

incurred in responding to McKenna’s Motion for Relief from Judgment and declare McKenna a

vexatious litigator and impose pre-filing restrictions upon him that include requiring review of

any pleading or document by a special master prior to permitting the pleading or document be

accepted for filing.



                                                     Respectfully submitted,

                                                     Roetzel & Andress, LPA



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                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 24, 2010, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, and electronically served Plaintiff Kevin

McKenna with the foregoing document:

                   Kevin H. McKenna
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                   KMCKENN@columbus.rr.com
                   Pro Se Plaintiff

                                              /s/ Brian E. Dickerson
                                              Brian E. Dickerson (#0069227)




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